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                                    No. 24-60395

                   UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT

   Republican National Committee, Mississippi Republican Party, James Perry,
                              Matthew Lamb,

                               Plaintiffs - Appellants,
                                          v.

Justin Wetzel, in his official capacity as the clerk and registrar of the Circuit Court
  of Harrison County; Toni Jo Diaz, in their official capacities as members of the
 Harrison County Election Commission; Becky Payne, in their official capacities
  as members of the Harrison County Election Commission; Barbara Kimball, in
their official capacities as members of the Harrison County Election Commission;
  Christene Brice, in their official capacities as members of the Harrison County
Election Commission; Carolyn Handler, in their official capacities as members of
    the Harrison County Election Commission; Michael Watson, in his official
                  capacity as the Secretary of State of Mississippi,

                              Defendants - Appellees,
        Vet Voice Foundation; Mississippi Alliance for Retired Americans,

                        Intervenor Defendants – Appellees.

                          Libertarian Party of Mississippi,

                                Plaintiff - Appellant,
                                          v.

Justin Wetzel, in his official capacity as the clerk and registrar of the Circuit Court
  of Harrison County; Toni Jo Diaz, in their official capacities as members of the
 Harrison County Election Commission; Becky Payne, in their official capacities
  as members of the Harrison County Election Commission; Barbara Kimball, in
their official capacities as members of the Harrison County Election Commission;
  Christene Brice, in their official capacities as members of the Harrison County
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Election Commission; Carolyn Handler, in their official capacities as members of
   the Harrison County Election Commission; Michael Watson, in his official
                capacity as the Secretary of State of Mississippi,

                             Defendants – Appellees.

                 On Appeal from the United States District Court
                     for the Southern District of Mississippi
                              Hon. Louis Guirola, Jr.
              Case Nos. 1:24-cv-25-LG-RPM; 1:24-cv-37-LG-RPM

       PETITION OF INTERVENOR DEFENDANTS - APPELLEES
                VET VOICE FOUNDATION AND THE
       MISSISSIPPI ALLIANCE FOR RETIRED AMERICANS FOR
                      REHEARING EN BANC



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                  CERTIFICATE OF INTERESTED PERSONS

        No. 24-60395, Republican National Committee et al. v. Wetzel et al.

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      A.     Plaintiffs-Appellants:

             1.     Republican National Committee

             2.     Mississippi Republican Party

             3.     James Perry

             4.     Matthew Lamb

             5.     Libertarian Party of Mississippi

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             Mississippi Republican Party, Perry, and Lamb:

             1.     Thomas McCarthy

             2.     Gilbert C. Dickey

             3.     Conor Woodfin


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D.   Defendants-Appellees:

     1.    Justin Wetzel, in his official capacity as the clerk and registrar
           of the Circuit Court of Harrison County

     2.    Toni Jo Diaz, in her official capacity as member of the Harrison
           County Election Commission
     3.    Becky Payne, in her official capacity as member of the Harrison
           County Election Commission
     4.    Barbara Kimball, in her official capacity as member of the
           Harrison County Election Commission
     5.    Christene Brice, in her official capacity as member of the
           Harrison County Election Commission
     6.    Carolyn Handler, in her official capacity as member of the
           Harrison County Election Commission
     7.    Michael Watson, in his official capacity as the Secretary of
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     2.    Mississippi Alliance for Retired Americans

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     5.    Michael B. Jones

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     8.    Paloma Wu

     9.    Mississippi Center for Justice

I.   Amici Curiae:

     1.    Democratic National Committee

     2.    Public Interest Legal Foundation

     3.    Disability Rights Mississippi

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     5.    Joshua Tom

     6.    American Civil Liberties Union Foundation of Mississippi

     7.    Neil Steiner


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     10.   Elizabeth Parr Hecker

     11.   United States Department of Justice

                                /s/ Elisabeth C. Frost
                                Elisabeth C. Frost

                                Counsel for Intervenor Defendants-
                                Appellees



                                  -v-
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                            RULE 35(b) STATEMENT

      This case involves a question of exceptional importance: whether federal

statutes designating a national “election day” preempt Mississippi’s law allowing

election officials to count ballots cast on or before that day, if received within five

days after. That law is critical to protecting the voting rights of members of the

Armed Services when stationed away from home, whose ballots may otherwise

arrive too late to be counted. The panel’s decision further dramatically upsets the

balance between state and federal election administration struck by the

Constitution’s Elections Clause, by reading into the federal statutes an unspoken

limitation on state power that has no grounding in text or history. Every other court

that has considered the question—including the district court here—has rejected this

argument.

      The panel’s decision incorrectly suggested that post-election day ballot receipt

deadlines are a recent invention. It jettisoned any recognizable methodology for

discerning the plain meaning of statutory text and ignored contemporaneous

dictionary definitions that undermined its conclusion. It misinterpreted the

precedents of this Court and the Supreme Court. And it perplexingly cast aside

Congress’s explicit and favorable acknowledgment of these laws as “congressional

silence.”

      In fact, the practice of counting ballots cast by election day but received



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afterward goes back to the Civil War, when many states permitted soldiers to vote

in the field before sending their ballots to soldiers’ home precincts. Presently, more

than half the states—including two of the three within this Circuit—have such laws.

Far from making any attempt to preempt these laws, Congress has acknowledged

and approved of them for more than five decades.

      The Court should grant rehearing en banc to carefully consider this issue of

exceptional importance.




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              ISSUE MERITING EN BANC CONSIDERATION

      Whether Congress preempted states’ power under the Elections Clause to

establish the manner of elections as it relates to counting timely-cast mail ballots

received after election day.

                   THE COURSE OF THE PROCEEDINGS
      The Elections Clause empowers states to set the “Times, Places and Manner

of holding Elections for Senators and Representatives,” reserving for Congress the

right to, “at any time by Law make or alter such Regulations.” U.S. Const., art. I, §4,

cl.1; see also id., art. II, §1, cl.4; id. §1, cl.2 (same, for presidential electors).

Congress set the time for the general election for federal offices as the Tuesday after

the first Monday in November in the Election Day Statutes. 2 U.S.C. §7; 3 U.S.C.

§§1, 21. Exercising its authority to set the “Manner” for these elections, Mississippi

enacted the Ballot Receipt Deadline, Miss. Code §23-15-637(1)(a), ensuring mail

ballots that are “postmarked on or before the date of the election and received by the

registrar no more than five (5) business days after the election” are counted,

notwithstanding mail delays.

      The Republican National Committee, Mississippi Republican Party, James

Perry, and Matthew Lamb, and then separately, the Libertarian Party, sued to enjoin




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the Ballot Receipt Deadline. ROA.23, ROA.1281.1 Appellants allege that it is

preempted by the Election Day Statutes. See ROA.33-34; ROA.36; ROA.1293. Vet

Voice Foundation and the Mississippi Alliance for Retired Americans were granted

intervention to defend the rights of military voters, veterans, and elderly voters who

rely on absentee voting in Mississippi. ROA.389.

      The district court granted summary judgment for Defendants, holding that

precedent, legislative history, statutory purpose, and historical practice all show

that the Ballot Receipt Deadline “operates consistently with and does not conflict

with the Electors Clause or the election-day statutes.” ROA.1181. On October 24,

2024, a panel of this Court reversed. Doc.191.

                                   ARGUMENT
      The panel’s decision will disenfranchise lawful voters, including Americans

serving their country away from home. In doing so, it ignores well-trod methods of

statutory interpretation, infringing on the proper constitutional roles of Congress and

the states in election administration. Nothing in the Election Day Statutes’ text

prohibits states from counting timely-cast ballots received after election day.

Congress has long been aware that many states have such laws, and has repeatedly

acknowledged them, including in the Uniformed and Overseas Citizens Absentee



1
 The cases were consolidated. ROA.307. Plaintiffs are referred to collectively as
“Appellants.”

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Voting Act (“UOCAVA”), which creates a federal absentee ballot for military and

overseas voters to be “processed in the manner provided by law for absentee ballots

in the State involved.” 52 U.S.C. §20303(b) (emphasis added). That “manner”

includes extended receipt deadlines in states with such laws. The voting rights of our

service members and the balance of state and federal power over elections are

matters of exceptional importance that warrant full Court review.

I.    This case presents a question of exceptional importance.
      The practice of accepting ballots cast before election day but received by

officials afterward dates to the Civil War. See Fortier & Ornstein, The Absentee

Ballot and the Secret Ballot: Challenges for Election Reform, 36 U. Mich. J.L.

Reform 483, 500 (2003). As absentee voting became more widespread, more states

adopted post-election receipt deadlines, ranging from one day to several weeks.

Compare Tex. Elec. Code Ann. §86.007(a)(2), with 10 Ill. Comp. Stat. §§5/19-8 &.

5/18A-15.

      When Congress passed UOCAVA, it was aware that “[t]welve [states] ha[d]

extended the deadline for the receipt of voted ballots to a specific number of days

after the election.” Uniformed and Overseas Citizens Absentee Voting: Hearing on

H.R. 4393, 99 Cong. 21 (Feb. 6, 1986) (Statement of Henry Valentino, Director,

Federal Voting Assistance Program). And it directed that UOCAVA ballots were to

be “processed in the manner provided by law for absentee ballots in the State



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involved,” including in accordance with the state’s ballot receipt deadline. 52 U.S.C.

§20303(b); see also id. §20303(b)(3) (a federal write-in ballot shall not count if a

UOCAVA voter’s state absentee ballot is received “no later than the deadline for

receipt of the State absentee ballot under State law”). Congress again recognized

these state laws when it passed the MOVE Act in 2009, which requires military

officials to ensure that overseas servicemembers’ ballots are delivered to election

officials “not later than the date by which an absentee ballot must be received in

order to be counted in the election.” 52 U.S.C. §20304(b)(1) (emphasis added); Pub.

L. No. 111-84, div. A, tit. V., subtit. H, §580(a), 123 Stat. 2190.

      By the time this case was filed, at least 28 states and several U.S. territories

had extended ballot-receipt deadlines. See Tbl. 11: Receipt & Postmark Deadlines

for Absentee/Mail Ballots, Nat’l Conf. of State Legs. (June 12, 2024),

perma.cc/H9ZG-P92W. This includes the “18 states and the District of Columbia”

that the panel acknowledged “permit post-Election Day receipt” for all mail voters,

Op.15, as well as another ten states that permit it for military and overseas voters.

See Ala. Code §17-11-18(b)); Ark. Code §7-5-411(a)(1)(A)(ii)); Fla. Stat.

§101.6952(5); Ga. Code §21-2-386(a)(1)(G); Ind. Code §3-12-1-17(b); Mich.

Comp. Laws §168.759a(18); Mo. Rev. Stat. §115.920(1); 25 Pa. Cons. Stat.




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§3511(a); R.I. Gen. Laws §17-20-16; S.C. Code §7-15-700(A). 2

      As the United States emphasized, laws like Mississippi’s “provide critical

protection for UOCAVA voters.” U.S. Amicus Br., Doc. 148-1, at 28. “[A]bsentee

voting laws generally are the only means by which American citizens deployed in

the uniformed services or otherwise living overseas can exercise their right to vote.”

Id. Historically, the “single largest reason for disenfranchisement of military and

overseas voters was State failure to provide adequate ballot transit time.” Id. at 28-

29 (quoting UOCAVA House Report 10). The UOCAVA House Report expressly

noted that “several States accept absentee ballots, particularly those from overseas,

for a specified number of days after election day,” praising those laws as “aid[ing]

in protecting the voting rights” of military and overseas voters. H.R. Rep. 99-765 at

8 (1986). And the U.S. Attorney General repeatedly has brought suit “against States

that transmitted ballots late, to prevent military and overseas voters from being

disenfranchised in federal elections,” by “extending the receipt deadline beyond

Election Day.” U.S. Amicus Br. at 30-31.

      The panel concluded that the Election Day Statutes silently and entirely

preempt the widespread and longstanding practice of counting ballots under laws

like Mississippi’s. That decision offends the Elections Clause, which “gives states



2
  It is therefore not correct that, “[e]ven today, a substantial majority of States
prohibit officials from counting ballots received after Election Day.” Op.15.

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the responsibility for establishing the time, place, and manner of holding

congressional elections, unless Congress acts to preempt state choices.” Voting

Integrity Project, Inc. v. Bomer, 199 F.3d 773, 775 (5th Cir. 2000) (citation omitted)

(emphasis added). Under this constitutional edict, “a state’s discretion and flexibility

in establishing the time, place and manner of electing its federal representatives has

only one limitation: the state system cannot directly conflict with federal election

laws on the subject.” Id. (emphasis added).

      To find conflict, the panel rejected the ordinary tools of plain meaning

statutory interpretation, misinterpreted precedent, misconstrued relevant history, and

ignored Congress’s explicit and favorable acknowledgment of these laws. The

panel’s roadmap for evaluating whether Congress has preempted a state’s

constitutional power to regulate the “Manner” of its elections is befuddling. And the

Americans whose voting rights are most threatened by the panel’s ruling are those

who volunteer to protect those rights—with their lives if necessary.

II.   The panel’s opinion breaks with other courts.

      Until the panel’s decision, every court to address the merits of the question

concluded that the Election Day Statutes operate harmoniously with laws like

Mississippi’s.

      The Pennsylvania Supreme Court rejected the argument (made by the

Republican Party of Pennsylvania) in 2020, when it ordered the extension of



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Pennsylvania’s ballot receipt deadline to account for postal delays during the

pandemic. Pa. Democratic Party v. Boockvar, 238 A.3d 345, 368 n.23 (Pa. 2020)

(concluding Election Day Statutes are consistent with extended ballot receipt

deadlines).

      The Third Circuit dismissed a federal challenge to that decision, explaining

“Federal law does not provide for when or how ballot counting occurs,” and extended

receipt deadlines and the Election Day Statutes “can, and indeed do, operate

harmoniously.” Bognet v. Sec’y Commonwealth of Pa., 980 F.3d 336, 353-54 (3d

Cir. 2020), cert. granted, judgment vacated sub nom. Bognet v. Degraffenreid, 141

S. Ct. 2508 (2021); see also id. at 345-46 (finding “receipt” akin to routine post-

election actions—like counting and canvassing—distinct from voting). Accordingly,

the plaintiffs lacked standing because they alleged only a violation of state—not

federal—law. Id. at 354-55. 3

      Also in 2020, a federal court rejected the RNC’s (and others’) challenge to a

similar New Jersey law. Donald J. Trump for President, Inc. v. Way, 492 F. Supp.

3d 354, 369 (D.N.J. 2020). It concluded, because the Election Day Statutes “are

silent on methods of determining the timeliness of ballots,” New Jersey’s method of

determining whether ballots are cast on or before election day “is not preempted.”

3
 The Supreme Court vacated Bognet as moot on appeal, not on the merits. See
United States v. Munsingwear, Inc., 340 U.S. 36, 39 (1950). It remains persuasive.
See Melot v. Bergami, 970 F.3d 596, 599 n.11 (5th Cir. 2020).

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Id. at 372.

       Recently, a federal court in Illinois rejected a challenge to that state’s 14-day

ballot receipt deadline. Bost v. Ill. State Bd. of Elections, 684 F. Supp. 3d 720, 736

(N.D. Ill. 2023). The court found the plaintiffs lacked standing, but also would have

rejected the claim on the merits. Id. at 736-37.4

       Thus, until now, courts have uniformly recognized that allowing absentee

ballots to “be mailed by election day” and received by some specified date thereafter

is a “policy choice” left to the states. DNC v. Wisconsin State Legislature, 141 S. Ct.

28, 34 (2020) (Kavanaugh, J., concurring); cf. Harris v. Fla. Elections Canvassing

Comm’n, 122 F. Supp. 2d 1317, 1325 (N.D. Fla. 2000) (recognizing some states

“allow post-election-day acceptance of absentee ballots” and concluding “Congress

did not intend 3 U.S.C. § 1” to preclude such laws), aff’d sub nom. Harris v. Fla.

Elections Comm’n, 235 F.3d 578 (11th Cir. 2000).

III.   The panel decision is at odds with the Election Day Statutes’ plain text
       and ignores original public meaning.

       The panel’s conclusion that Mississippi’s Ballot Receipt Deadline was




4
 The Seventh Circuit affirmed on standing and did not reach the merits. Bost v. Ill.
State Bd. of Elections, 114 F.4th 634 (7th Cir. 2024). Two similar cases were
dismissed on standing. Splonskowski v. White, 714 F. Supp. 3d 1099, 1103 (D.N.D.
2024); Republican Nat’l Comm. v. Burgess, 2024 WL 3445254, at *1 (D. Nev. July
17, 2024), appeal filed No. 24-5071 (9th Cir. Aug. 19, 2024).



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preempted finds no grounding in the text of the federal statutes or the original public

meaning of the term “election.”

      As the panel acknowledged, contemporaneous dictionary definitions of

“election” refer to the public’s “choice” of a candidate for office. Op.7 n.5; see also

Foster v. Love, 522 U.S. 67, 71 (1997); Newberry v. United States, 256 U.S. 232,

250 (1921). When the voter places a marked absentee ballot in the mail, they have

made their “choice.” Mississippi’s Ballot Receipt Deadline is accordingly consistent

with the contemporaneous and ordinary meaning of “election.” The panel swept

aside these definitions in a footnote because they “make no mention of deadlines or

ballot receipt.” Op.7 n.5. But that proves the point: the Elections Clause “gives states

the responsibility for establishing the time, place, and manner of holding

congressional elections, unless Congress acts to preempt state choices.” Bomer, 199

F.3d at 775 (emphasis added). Congress, in setting the day of the “election,” has not

“acted” to preempt laws like Mississippi’s because, as the panel acknowledged, the

ordinary meaning of the term “election” does not encompass ballot receipt.

      The Election Day Statutes do not answer every conceivable election

administration question. The panel’s assumption that they must is directly at odds

with the Elections Clause and caselaw interpreting it. Congress’s Elections Clause

power preempts inconsistent state laws, “so far as it is exercised, and no farther[.]”

Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 9 (2013) (quotation


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omitted). Thus, Courts should “read Elections Clause legislation simply to mean

what it says,” id. at 15, with “the reasonable assumption” “that the statutory text

accurately communicates the scope of Congress’s pre-emptive intent,” id. at 14. As

the panel acknowledged, the Election Day Statutes say nothing about ballot receipt

and thus do not preempt them.

IV.   The panel decision misreads precedent.
      In lieu of relying on the ordinary meaning of “election,” the panel purported

to distill “three definitional elements” to the term from the Supreme Court’s decision

in Foster v. Love: “(1) official action, (2) finality, and (3) consummation.” Op.8. But

Foster expressly declined to pare “the term ‘election’ … down to the definitional

bone,” limiting its holding to the narrow circumstances of that case. See id. at 72 &

n.4 (“This case thus does not present the question whether a state must always

employ the conventional mechanics of an election. We hold today only that if an

election does take place, it may not be consummated prior to federal election day.”).

      Further, the panel’s assertion that “receipt” is the only relevant “official

action” is pulled from thin air, buttressed by outlandish hypotheticals imagining laws

where the voter never relinquishes custody and control—all distinctly different from

Mississippi’s Ballot Receipt Deadline. See Op.8. The panel’s claimed distinction

between the “voter’s selection” and the “public’s election,” id. at 9, is equally

misplaced. The “public” or “polity,” id., is made up of individual voters. Under the



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Ballot Receipt Deadline, every voter, comprising the “electorate as a whole,” id.,

must make their “final choice” on or before election day. 5 Supra at 9. The panel’s

sole basis for this invented distinction was a 1944 Montana Supreme Court decision

that relied on state law. Op.10 (citing Maddox v. Board of State Canvassers, 149

P.2d 112 (Mont. 1944)). That court held, as a matter of Montana law, that “voting is

done not merely by marking the ballot but by having it delivered to the election

officials and deposited in the ballot box before the closing of the polls on election

day.” Maddox, 149 P.2d at 115. But even the Montana Supreme Court acknowledged

that other states disagreed. New Hampshire, for example, provided that “the elector

parts with all control over his ballot and has in fact voted when the ballot is marked

and deposited in the mail addressed to the proper election officer.” Goodell v. Judith

Basin Cnty., 224 P. 1110, 1113 (Mont. 1924) (citing In re Opinion of the Justices,

113 A. 293 (N.H. 1921)) (emphasis added). Likewise, Kansas provided that a “vote

is cast when the ballot is marked … [and] placed in envelopes and mailed on election

day.” Burke v. State Bd. of Canvassers, 107 P.2d 773, 778 (Kan. 1940). In other




5
  The panel also relied on a Mississippi regulation to conclude that a ballot is not
“final” until “absentee processing by the Resolution Board,” when “the ballot is
marked as accepted.” Op.9-10 (quoting 01-17 Miss. Admin. Code R2.1). But under
Mississippi law, “absentee processing by the Resolution Board” involves more than
“receipt.” It requires the board to, for example, examine the ballot envelope and
match the signature. Miss. Stat. §23-15-639. The panel acknowledged such actions
can and often do take place after election day. Op.11-12.

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words, this was, and continues to be, a question of state law.6

      Finally, the panel relied on Bomer to conclude that an election is

“consummated” when all ballots are received. Op.11. If this reading were correct, a

state could require voters to cast their ballots in person or by mail before election

day, with no voting to be done on election day itself—so long as ballots are still

being received on election day. Bomer, of course, means no such thing. The critical

fact was that, while some voters could cast ballots early, the “final selection” was

“not made before the federal election day” because voters were still voting. 199 F.3d

at 776.7 The same is true here.

V.    The panel decision misconstrues the historical record.
      The panel’s decision is further flawed because it prohibits a longstanding

practice Congress was well aware of. See Bomer, 199 F.3d at 776. As early as the

Civil War, many states permitted soldiers to vote at polling sites in the field on

election day and have the ballots “sent to the [soldier’s] home precinct.” Fortier &

Ornstein, supra, at 500. This practice differs little from Mississippi’s law—both

require ballots to be cast by election day and received by officials by sometime after.



6
  Montana has since adopted a post-election receipt law for military-overseas
voters—a law the panel’s reasoning would find preempted. See Mont. Code §13-21-
226(1).
7
  Notably, when Bomer was decided, Texas allowed timely-voted ballots from
military and overseas voters to be counted if they arrived within two days of election
day in federal elections. See Tex. Elec. Code §86.007(d)(3)(B) (2000).

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      The panel dismissed this history, writing that the “act of voting

simultaneously involved receipt by election officials.” Op.13. That is not accurate.

While some states deputized military officers as election officials for field voting,

others did not. Nevada, Rhode Island, and Pennsylvania allowed ballots to be placed

under the charge of high commanding officers without any such designation and

they were not received by election officials until later. 1866 Nev. Stat. 215;

Benton, Voting in the Field: A Forgotten Chapter of the Civil War 171-73, 186-87,

190 (1915).

      Absentee voting laws proliferated in the early twentieth century. Op.14-15.

The panel claims those laws “universally foreclosed the possibility of accepting and

counting ballots received after Election Day.” Id. at 15. Wrong again. California

required absentee ballots be received “within fourteen days” after election day, Cal.

Political Code §1360 (James H. Derring ed. 1924), and Kansas required military

ballots be returned “before the tenth day following [the] election.” Kans. Rev. Stat.

§25-1106 (Chester I. Long, et al., eds. 1923). New York and Minnesota had similar

laws. See P. Orman Ray, Military Absent-Voting Laws, 12 Am. Pol. Sci. Rev. 461,

464, 468-69 (1918).

      The panel’s conclusion that, in 1938, only one state retained a post-election-

day receipt deadline, Op.15, is contradicted by its cited source. See Paul G.

Steinbicker, Absentee Voting in the United States, 32 Am. Pol. Sci. Rev. 898, 905-


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06 (1938). It says that—among the 42 states with absentee voting laws—all but one

had express “limits within which the ballot must be received . . . to be counted.” Id.

at 905. “These limits range[d] from six days before to six days after the date of the

election.” Id. at 905-06; see also id. at 905 n.38 (referring to “those states where the

time limit extends beyond the day of election”) (emphasis added). And just five years

later—after the United States entered the Second World War—at least nine states

had post-election-day deadlines. See Bill to Amend the Act of September 16, 1942:

Hearing On H.R. 3436 Before the H. Comm. On Election of President, Vice

President, and Representatives in Congress, 78th Cong. 100, 102 (Oct. 26, 1943)

(identifying eight states); see also Neb. Rev. Stat. §32-838 (1943) (mail-in ballots

could be received up to two days after election day).

      Against this backdrop, Congress enacted the Soldier Voting Act, creating a

“war ballot” for servicemembers. The Act required these ballots to be received by

election day, Act of Sept. 16, 1942, ch. 561, 56 Stat. 753, §9, precisely because no

existing federal law imposed such a requirement. And, in 1944, Congress amended

the Act, requiring war ballots be received by election day “except that any extension

of time for the receipt of absentee ballots permitted by State laws shall apply.” 78

Pub. L. No. 277, 58 Stat. 136, §311(b)(3). That 1944 amendment was not an

“exception” to the Election Day Statutes, but a clarification of the 1942 Act to

explicitly incorporate already-existing extended receipt deadlines. Congress further


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provided that soldiers could continue to vote absentee in accordance with state law,

which included post-election receipt deadlines. Id. at §3.

      The panel further ignored that, in a series of related statutes, Congress

expressly recognized that state ballot receipt deadlines are a question of state, not

federal law—except where Congress has explicitly said otherwise, as in the Soldier

Voting Act. This includes UOCAVA, discussed supra at 3-4, which directed that its

newly-created “Federal write-in absentee ballot” was to be “processed in the manner

provided by law for absentee ballots in the State involved,” including in accordance

with “the deadline[s] for receipt of the State absentee ballot under State law.” 52

U.S.C. §20303(b)(3) (emphasis added). It also includes the MOVE Act, see supra at

4 (requiring military officials ensure that overseas servicemembers’ ballots for

federal general elections are delivered to election officials “not later than the date by

which an absentee ballot must be received in order to be counted in the election”)

(citations omitted).

      Far from “congressional silence,” this history demonstrates that in a series of

enactments stretching back over a century, Congress has evidenced its clear

understanding that post-election-day receipt does not conflict with the Election Day

Statutes. The panel’s contrary conclusion flips the preemption analysis on its head,

effectively requiring that federal law expressly authorize any state law addressing

election administration. This is wrong as a matter of law, and unless corrected will


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disenfranchise lawful voters and bring into doubt election laws that states have duly

enacted in full accordance with their power to do so under the Constitution.

                                    CONCLUSION
      The Court should grant rehearing en banc, vacate the panel decision, and

affirm the judgment of the district court.

Dated: November 8, 2024                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 8, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the CM/ECF system. I certify that counsel for all parties are

registered CM/ECF users and that service will be accomplished by the CM/ECF

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Dated: November 8, 2024

                                                /s/ Elisabeth C. Frost
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      This brief complies with the word limits of Federal Rule of Appellate

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